      Case 8-17-70941-reg       Doc 22    Filed 08/11/20      Entered 08/11/20 12:43:34




                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NEW YORK
                             CENTRAL ISLIP DIVISION

 In Re:                                          Case No. 8-17-70941-reg

 Joanne M. Hamilton                              Chapter 13

 Debtor.                                         Judge Robert E. Grossman

    WITHDRAWAL OF NOTICE OF MORTGAGE PAYMENT CHANGE (Doc. 21)

U.S. Bank Trust National Association, as Trustee of Cabana Series III Trust (“Creditor”), by and
through their undersigned agent, hereby gives notice of a Withdrawal of the Notice of Mortgage
Payment Change (Doc. 21).

                                                 Respectfully Submitted
                                                 /s/ D. Anthony Sottile
                                                 D. Anthony Sottile
                                                 Authorized Agent for Creditor
                                                 Sottile & Barile, LLC
                                                 394 Wards Corner Road, Suite 180
                                                 Loveland, OH 45140
                                                 Phone: 513.444.4100
                                                 Email: bankruptcy@sottileandbarile.com
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                                CERTIFICATE OF SERVICE

I certify that on August 11, 2020, a copy of the foregoing Withdrawal was filed electronically.
Notice of this filing will be sent to the following party/parties through the Court’s ECF System.
Party/Parties may access this filing through the Court’s system:

       Adam C. Gomerman, Debtor’s Counsel
       agomerman@optonline.net

       Michael J. Macco, Chapter 13 Trustee
       ecf@maccolaw.com

       Office of the United States Trustee
       ustpregion02.li.ecf@usdoj.gov

I further certify that on August 11, 2020, a copy of the foregoing Withdrawal was mailed by
first-class U.S. Mail, postage prepaid and properly addressed to the following:

       Joanne M. Hamilton, Debtor
       28 Seymour Lane
       Hicksville, NY 11801

                                                  /s/ D. Anthony Sottile
                                                  D. Anthony Sottile
                                                  Authorized Agent for Creditor
                                                  Sottile & Barile, LLC
                                                  394 Wards Corner Road, Suite 180
                                                  Loveland, OH 45140
                                                  Phone: 513.444.4100
                                                  Email: bankruptcy@sottileandbarile.com
